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United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if knoivn) Chapter 11

[| Check if this an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more.information, a separate document, instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name Biora Therapeutics, Inc.

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

Progenity, Inc.

3. Debtor's federal
Employer identification | XX-XXXXXXX
Number (E/N)

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business

10070 Carroll Canyon Road

Suite 100

San Diego, CA 92131

Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code

San Diego Location of principal assets, if different from principal
County place of business

Number, Street, City, State & ZIP Code

5. Debtor's website (URL) _https://www.bioratherapeutics.com/

6. Type of debtor ‘| Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
{] Partnership (excluding LLP)
_] Other. Specify:

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Debtor Biora Therapeutics, Inc.

Case number (if known)

Name

7. Describe debtor's business

A. Check one:

SOOCOOCOO

B. Check all that apply
[_] Tax-exempt entity (as: described in 26 U.S.C. §501)

[| investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
[-] investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Railroad (as defined in 11 U.S.C. § 101(44))

Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))
Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www.uscourts.gov/four-digit-national-association-naics-codes.

3254

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

Check one:
[-] Chapter 7
[_] Chapter 9

if] Chapter 11. Check all that apply:

|] Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $3,024,725 (amount subject to adjustment on 4/01/25 ‘and every 3 years after that).
|_| The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).
[_] The debtor is a small business debtor as defined in 11 U:S.C. § 101(51D), and it chooses to
proceed under Subchapter V of Chapter 11.
(| Aplan is being filed with this petition.
[_] Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).
vi The debtor is required to file. periodic reports (for example, 10K and 10Q) with the Securities and
Exchange. Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.
["] The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
[_] Chapter 12
9. Were prior bankruptcy vl No.
cases filed by or against CT] Yes.
the debtor within the last 8
years?
If more than 2 cases, attach a
separate list. District When Case number
District When Case number
10. Are-any bankruptcy cases iv! No
pending or being filed by a 1 Yes.
business partner or an
affiliate of the debtor?
List all cases. If more than 1,
Debtor Relationship

attach a separate list
Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor Biora Therapeutics, Inc.

Case number (if known)

Name
District When Case number, if known
11. Why is the case filed in Check all that apply:
this district? . we . . _ ee :
vl Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

[]  Abankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or iv! No

have possession of any
real property or personal
property that needs
immediate attention?

[] Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check aif that apply.)
[| It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

["] It needs to be physically secured or protected from the weather.

[-] It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

[_] Other

Where is the property?

Number, Street, City, State & ZIP Code

Is the property insured?

[ ]No

[-] Yes. Insurance agency

Contact name

Phone

a Statistical and administrative information

13. Debtor's estimation of Check one:

available funds iv! Funds will be available for distribution to unsecured creditors.

[_] After any administrative expenses are paid, no funds will be available to unsecured creditors.

14, Estimated number of [_] 1-49 [_] 1,000-5,000 ("| 25,001-50,000
creditors [-] 50-99 [“] 5001-10,000 [] 50,001-100,000
ly] 100-199 [_] 10,001-25,000 ["] More than100,000
[] 200-999
15. Estimated Assets [_ | $0 - $60,000 [_] $1,000,001 - $10 million [-] $500,000,001 - $1 billion

ig] $10,000,001 - $50 million
[-] $50,000,001 - $100 million
[_] $100,000,001 - $500. million

[_] $50,001 - $100,000
[] $100,001 - $500,000
[] $500,001 - $1 million

[-] $1,000,000,001 - $10 billion
f} $10,000,000,001 - $50 billion
_| More than $50 billion

16. Estimated liabilities {] $1,000,001 - $10 million
[_] $10,000,001 - $50 million
(_] $50,000,001 - $100 million

vl $100,000,001 - $500 million

[| $0 - $50,000

f] $50,001 - $100,000
[_] $100,001 - $500,000
[] $500,001 - $4 million

[7] $500,000,004 - $1 billion

[} $1,000,000,001 ~ $10 billion
[] $10,000,000,001 - $50 billion
[-] More than $50 billion

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Debtor Biora Therapeutics, Inc. Case number (if known)

Name

BE Fecuest for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
| have been authorized to file this petition on behalf of the debtor.
| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.
Executedon 12/27/2024

MM /DD/YYYY
DocuSigned by:
x Fidlard. Miller Richard Miller
Signature of authorized representative of debtor Printed name

Title Chief Transition Officer

18. Signature of attorney x Nas Obi Date | 2} 21 i, ut4—

Signature of attorney fordebtor MM/DBD/YYYY

David R. Hurst

Printed name

McDermott Will & Emery LLP

Firm name

The Brandywine Building
1000 N. West Street, Suite 1400
Wilmington, DE 19801

Number, Street, City, State & ZIP Code

Contact phone (302) 485-3900 Email address dhurst@mwe.com

3743 DE
Bar number and State

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WRITTEN CONSENT
OF
BIORA THERAPEUTICS, INC.

December 26, 2024

The undersigned, being the Special Committee (as defined below) of Biora Therapeutics,
Inc., a Delaware corporation (the “Company”), in accordance with the Company’s
organizational documents and the laws of the State of Delaware, do hereby consent to, approve
and adopt the following resolutions in lieu of a meeting effective as of the date hereof:

Chapter 11 Filing

WHEREAS, the Company has considered presentations by its financial and legal
advisors regarding the Company’s liabilities and liquidity, the strategic alternatives available to
the Company, and the effect of the foregoing on the Company’s business;

WHEREAS, on November 26, 2024 the board of directors of the Company
(the “Board”), adopted certain resolution, established a special committee
(the “Special Committee”), and delegated to the Special Committee certain duties, powers, and
authority;

WHEREAS, the Board, including the Special Committee, has had the opportunity to
consult with the financial and legal advisors of the Company and to fully consider each of the
strategic alternatives available to the Company; and

WHEREAS, the Board, including the Special Committee, has had the opportunity to
consult with the financial and legal advisors of the Company and review chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) and the preparation materials provided by
the financial and legal advisors, and the Board recommends the adoption of these resolutions.

NOW, THEREFORE, BE IT RESOLVED, that in the business judgment of the Special
Committee, it is desirable and in the best interests of the Company (including a consideration of
its creditors and other parties in interest) that the Company shall be, and hereby is, authorized to
file, or cause to be filed, a voluntary petition for relief (the “Chapter 1] Case”) under the
provisions of chapter 11 of title 11 of the Bankruptcy Code in the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”) and any other petition for relief or
recognition or other order that may be desirable under applicable law in the United States;

RESOLVED FURTHER, that any officer or director of the Company, or any other duly
appointed officer or other person acting at the direction of the foregoing officers of the Company
or the Board (collectively, the “Authorized Signatories”), acting alone or with one or more other
Authorized Signatories be, and they hereby are, authorized, empowered, and directed to execute
and file on behalf of the Company all petitions, schedules, lists, and other motions, papers, or
documents, and to take any and all actions that they deem necessary, proper, or convenient to obtain

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such relief, including, without limitation, any action necessary to maintain the ordinary course
operation of the Company’s business; and

RESOLVED FURTHER, that all acts and deeds previously performed by any of the
Authorized Signatories or officers of the Company prior to the adoption of the foregoing recitals
and resolutions that are within the authority conferred by the foregoing recitals and resolutions,
are hereby ratified, confirmed and approved in all respects as the authorized acts and deeds of the
Company.

Retention of Professionals

WHEREAS, the Board, including the Special Committee, has considered presentations
by the financial and legal advisors of the Company regarding the retention of such financial and
legal advisors.

NOW, THEREFORE, BE IT RESOLVED, that each of the Authorized Signatories be,
and hereby is, authorized, empowered and directed to employ the law firm of McDermott Will
& Emery LLP (“McDermott”) as general bankruptcy counsel to represent and assist the
Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions
to advance the Company’s rights and obligations, including filing any motions, objections,
replies, applications, or pleadings; and in connection therewith, each of the Authorized
Signatories, with power of delegation, is hereby authorized, empowered and directed to execute
appropriate retention agreements, pay appropriate retainers and fees, and to cause to be filed an
appropriate application for authority to retain the services of McDermott;

RESOLVED FURTHER, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ the firm of Evora Partners, LLC (“Evora”) to
(a) provide Richard Miller, as Chief Transition Officer to the Company, (b) additional personnel
and restructuring services to the Company in carrying out its duties under the Bankruptcy Code,
and (c) take any and all actions to advance the Company’s rights and obligations; and in
connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers and fees, and cause to be filed an appropriate application for authority to
retain the services of Evora;

RESOLVED FURTHER, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ the firm of MTS Partners, LP (“MTS”) as
investment banker to (a) represent and assist the Company in carrying out its duties under the
Bankruptcy Code and (b) take any and all actions to advance the Company’s rights and
obligations; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized, empowered, and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and cause to be filed an appropriate application
for authority to retain the services of MTS;

RESOLVED FURTHER, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ the firm of Kroll Restructuring Administration
LLC (“Kroll”) as claims, noticing, solicitation, and administrative agent to (a) represent and

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assist the Company in carrying out its duties under the Bankruptcy Code and (b) take any and all
actions to advance the Company’s rights and obligations; and in connection therewith, each of
the Authorized Signatories, with power of delegation, is hereby authorized, empowered, and
directed to execute appropriate retention agreements, pay appropriate retainers and fees, and
cause to be filed appropriate applications for authority to retain the services of Kroll;

RESOLVED FURTHER, that each of the Authorized Signatories be, and hereby is, with
the power of delegation, authorized, empowered, and directed to execute and file all petitions,
schedules, motions, lists, applications, pleadings, and other papers, and, in connection therewith,
to employ and retain all assistance by legal counsel, accountants, financial advisors, and other
professionals and to take and perform any and all further acts and deeds that each of the
Authorized Signatories deem necessary, proper, or desirable in connection with the Company’s
Chapter 11 Case, with a view to the successful prosecution of such case.

Cash Collateral, Debtor-in-Possession Financing, and Adequate Protection

WHEREAS, the Board has reviewed and considered presentations by the legal and
financial advisors regarding the need for financing to fund the Chapter 11 Case and the
postpetition credit facility, memorialized by in the DIP Loan Documents (as defined below);

NOW, THEREFORE, BE IT RESOLVED, that the Company will obtain benefits from
(a) the use of collateral, including cash collateral, as that term is defined in section 363(a) of the
Bankruptcy Code (the “Cash Collateral”), which may be security for certain prepetition secured
holders under that certain Amended and Restated Indenture, dated as of August 15, 2024
(the “Prepetition A&R Indenture”) by and among the Company, as issuer, and GLAS Trust
Company LLC, as trustee and collateral agent (the “Prepetition Trustee”, and together with any
holder, the “Prepetition Secured Parties”); and (b) the incurrence of debtor-in-possession
financing obligations pursuant to the terms of that certain Debtor-in-Possession Term Sheet
(together with any and all exhibits, schedules, and annexes thereto, the “DIP Loan Documents”),
by and among, the Company, the lenders party thereto from time to time (the “DIP Lenders”) and
the agent thereto (the “DIP Agent,” and, together with the Prepetition Trustee, the “Agents”),
providing for (i) a senior secured postpetition new money term loan credit facility on a
superpriority basis and (b) a roll-up of certain outstanding Notes under the Prepetition A&R
Indenture (collectively, the “DIP Facility’);

RESOLVED FURTHER, that in order to use and obtain the benefits of (a) the DIP Facility
and (b) the use of Cash Collateral, and in accordance with section 363 of the Bankruptcy Code,
the Company will provide certain liens, claims, and adequate protection to the Prepetition Secured
Parties and to the DIP Lenders to secure the obligations of the Company under the DIP Facility
(the “DIP Obligations”) as documented in proposed orders in interim and final forms (the “DIP
Orders,” and, collectively with the DIP Loan Documents, the “DIP Documents”), and submitted
for approval to the Bankruptcy Court;

RESOLVED FURTHER, that the form, terms, and provisions of the DIP Orders to which
the Company is or will be subject, and the actions and transactions contemplated thereby be, and
hereby are, authorized, adopted, and approved, and each of the Authorized Signatories of the
Company be, and hereby are, authorized and empowered, in the name of and on behalf of the
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Company, to take such actions and negotiate or cause to be prepared and negotiated and to
execute, deliver, perform, and cause the performance of, the DIP Orders and the other DIP
Documents, incur and pay or cause to be paid all fees and expenses and engage such persons, in
each case, on the terms or substantially on the terms submitted to the Special Committee, with
such changes, additions, and modifications thereto as the officers of the Company executing the
same shall approve, such approval to be conclusively evidenced by such officers’ execution and
delivery thereof;

RESOLVED FURTHER, that the Special Committee has determined, after due
consultation with the management and the legal and financial advisors of the Company, that it is
desirable, necessary, and in the best interest of the Company’s business and affairs and the
Company’s equityholders, creditors, and all other parties in interest that the Company execute,
deliver, and perform the obligations under the DIP Loan Documents and the other DIP
Documents, and consummate the transactions contemplated thereby, including any borrowings,
the performance of any guarantees, and the granting of any security interests and liens, and the
Company’s execution and delivery of, and the incurrence and performance of its obligations in
connection with the DIP Loan Documents, including the guarantee of the Obligations (as defined
in the DIP Loan Documents) thereunder, and any other DIP Document to which it is a party, and
the consummation of the transactions contemplated thereby or entered into in connection with the
DIP Loan Documents, including, any borrowing by the Company under the DIP Loan
Documents, are hereby, in all respects, authorized and approved;

RESOLVED FURTHER, that the form, terms, and provisions of the DIP Orders which the
Company hereby authorized, are adopted, and approved, and each of the Authorized Signatories
of the Company be, and hereby is, authorized and empowered, in the name of and on behalf of
the Company, to negotiate or cause to be prepared and negotiated, and to take such actions
necessary to execute, deliver, perform, and cause the performance of, each DIP Order and such
other agreements, certificates, instruments, receipts, petitions, motions, or other papers or
documents relating to the transactions contemplated thereby to which the Company is or will be
a party, including, any security agreements, pledge agreements, guaranty agreement, assignment
documents, notices, financing statements, mortgages, intellectual property filings, tax affidavits,
fee letters, and other instruments as of the DIP Agent or requisite DIP Lenders may reasonably
request or as may be necessary or appropriate to create, preserve, and perfect the liens of the
Agents, purported or required pursuant to any of the transaction documents to be created in the
Collateral (as defined in the DIP Loan Documents (or similar term defined therein)), such
agreements with third parties (including bank agency agreements, lockbox agreements, control
agreements, landlord agreements, and warehouse letters) relating to the Collateral, any swap
contracts or hedging agreements and such other loan documents, guarantees, instruments,
certificates and documents as may be reasonably requested by the DIP Agent, the requisite DIP
Lenders, or as may be required by the DIP Orders, DIP Loan Documents, or any of the foregoing,
with such changes, additions, and modifications thereto as any Authorized Signatory executing
the same shall approve, such approval to be conclusively evidenced by such Authorized
Signatory’s execution and delivery thereof;

RESOLVED FURTHER, that the incurrence of the liabilities and obligations arising from
each DIP Order and each DIP Document by the Company party thereto, (a) is necessary and
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convenient to the conduct, promotion and attainment of the business of the Company and (b) may
reasonably be expected to benefit the Company directly or indirectly;

RESOLVED FURTHER, that the Company, as a debtor and debtor-in-possession under
the Bankruptcy Code be, and hereby is, authorized to incur the DIP Obligations, including the
borrowing of the loans under the DIP Loan Documents and other obligations related to the DIP
Facility, and to undertake any and all related transactions on substantially the same terms as
contemplated under the DIP Documents, including granting liens on and security interests in its
assets, including the Collateral, to the DIP Agent to secure such obligations (collectively,
the “DIP Transactions”);

RESOLVED FURTHER, that each of the Authorized Signatories of the Company, acting
alone or with one or more other Authorized Signatories, be, and hereby is, authorized, directed
and empowered in the name of, and on behalf of, the Company, as debtor and debtor-in-
possession, to take such actions as in their discretion is determined to be necessary, desirable, or
appropriate to execute the DIP Transactions, including the negotiation, execution and delivery of
(a) the DIP Documents, (b) such other instruments, certificates, notices, assignments, and other
documents, including, any amendments to any DIP Documents, as may be reasonably requested
by the Agents, and (c) such forms of deposit account contro] agreements, officer’s certificates,
and compliance certificates as may be required by the DIP Documents, in the name of and on
behalf of the Company, with such changes therein as shall be approve by the Authorized
Signatories executing the same, with such execution by said Authorized Signatory to constitute
conclusive evidence of their approval of the terms thereof, including any departures therein from
any form presented to the Company;

RESOLVED FURTHER, that each of the Authorized Signatories of the Company, acting
alone or with one or more other Authorized Signatories, be, and hereby is, authorized, directed
and empowered in the name of, and on behalf of, the Company, as debtor and debtor-in-
possession, to guarantee the DIP Obligations under the DIP Documents and to assign, transfer,
pledge, and grant to each Agent, for the ratable benefit of the respective or applicable Secured
Parties (as defined in the DIP Loan Documents (or similar term defined therein)), a security
interest in all or substantially all the assets of the Company, as collateral security for the prompt
and complete payment and performance when due of the DIP Obligations under the DIP
Documents to which the Company is a party or which it is subject to and to take or cause to be
taken any such actions as may be necessary, appropriate or desirable to cause the Company to
create, perfect and maintain a security interest in the Company’s property or assets constituting
Collateral (as defined in the DIP Loan Documents (or similar term defined therein)) as described
or contemplated in the DIP Documents;

RESOLVED FURTHER, that the Authorized Signatories be, and hereby are, authorized
and empowered to take all actions or to not take any action in the name of the Company with
respect to the transactions contemplated by these resolutions, whether existing now or in the
future, in each case, as such Authorized Signatory shall deem necessary or desirable in such
Authorized Signatory’s reasonable business judgment, including the authorization of resolutions
and agreements necessary to authorize the execution, delivery, and performance pursuant to the
DIP Documents (including certificates, affidavits, financing statements, notices, reaffirmations,
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amendments, and restatements thereof or relating thereto) as may be necessary, appropriate, or
convenient to effectuate the purposes of the transactions contemplated therein;

RESOLVED FURTHER, that each of the Authorized Signatories of the Company be, and
hereby is, authorized, directed, and empowered in the name of, and on behalf of, the Company to
file, or to authorize the Agents to file, any Uniform Commercial Code (the “UCC”) financing
statements, any other equivalent filings, any intellectual property filings and recordation, and any
necessary assignments for security or other documents in the name the Company that the Agents
deem necessary or appropriate to perfect any lien or security interest granted under the DIP Orders
and the DIP Documents, including any such UCC financing statement containing a generic
description of collateral, such as “all assets,” “all property now or hereafter acquired,” and other
similar descriptions of like import, and to execute and deliver, and to record or authorize the
recording of, such mortgages and deeds of trust in respect of real property of the Company and
such other filings in respect of intellectual and other property of the Company, in each case as the
Agents may reasonably request to perfect the security interests of the Agents under the DIP Orders
or any of the other DIP Documents;

RESOLVED FURTHER, that each of the Authorized Signatories of the Company be, and
hereby is, authorized, directed, and empowered in the name of, and on behalf of, the Company to
take all such further actions, including to pay all fees and expenses payable in accordance with
the terms of the DIP Documents, to arrange for and enter into supplemental agreements,
amendments, instruments, certificates, or documents relating to the transactions contemplated by
any of the DIP Documents, and to execute and deliver all such supplemental agreements,
amendments, instruments, certificates, or documents in the name and on behalf of the Company,
which shall in their sole judgment be necessary, proper, or advisable in order to perform the
Company’s obligations under or in connection with any of the DIP Documents and the
transactions contemplated therein (execution by such Authorized Signatory to constitute
conclusive evidence of such judgment), and to carry out fully the intent of the foregoing
resolution. The performance of any such further act or thing, and the execution of any such
document or instrument by any of the Authorized Signatories of the Company pursuant to these
resolutions, shall be conclusive evidence that the same have been authorized and approved by the
Company in every respect; and

RESOLVED FURTHER, that each of the Authorized Signatories be, and hereby is,
authorized to execute and deliver to the Agents, as applicable, and to perform the applicable
Company’s obligations under, all other documents, certificates, instruments, agreements and
writings including any interest rate swaps, caps, collars, or similar hedging agreement and any
financing statements (or amendments thereto) that may be contemplated by, or required in
connection with, the DIP Documents, these resolutions, and the transactions described herein and
therein, and to do all such acts and things as any person hereinafter authorized to execute such
documents on behalf of the Company determines to be necessary or advisable in connection with
or as contemplated by, or for the purpose of giving effect to, or carrying out the provisions of, the
DIP Documents, such determination to be conclusively evidenced by such person’s signature
thereon or completion thereof, as applicable.
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General Resolutions

RESOLVED FURTHER, that the Authorized Signatories be, and each of them hereby
is, authorized, empowered, and directed to execute, acknowledge, verify, deliver, and file any
and all such other agreements, documents, instruments, and/or certificates and to take such
other actions as may be necessary, proper, or appropriate in order to carry out the intent and
purposes of any of the foregoing resolutions;

RESOLVED FURTHER, that the Board has received sufficient notices of the actions
and transactions relating to the matters contemplated by the foregoing resolutions, as may be
required by the organizational documents of the Company, or hereby waive any right to have
received such notices;

RESOLVED FURTHER, that each member of the Board and the Special Committee of
the Company, as applicable, hereby irrevocably waives notice of the time, place, and purposes
of a meeting and any adjournments thereof, to the extent such notice is required by the
applicable organizational documents of the Company;

RESOLVED FURTHER, that any and all actions heretofore or hereafter taken and
expenses incurred in the name of and on behalf of the Company by any officer, director or
other Authorized Signatory of the Company in connection with or related to the matters set
forth or contemplated by any of the foregoing resolutions be, and they hereby are, approved,
ratified and confirmed in all respects as fully as if such actions had been presented to the
Board for approval prior to such actions being taken;

RESOLVED FURTHER, that any Authorized Signatory is hereby authorized to certify
to third parties with respect to adoption of any of the foregoing resolutions in the form and
substance satisfactory to them;

RESOLVED FURTHER, that this written consent shall be added to the
corporate records of the Company and made a part thereof, and the resolutions set forth herein
shall have the same force and effect as if adopted at a meeting duly noticed, held, called, and
constituted pursuant to the Company’s organizational documents and the applicable laws of
the State of Delaware; and

RESOLVED FURTHER, that this written consent may be executed in counterparts
(including by means of electronic portable document format (PDF)), each of which shall be
deemed an original and all of which, taken together, shall constitute one and the same
instrument.

[Signature page follows]
Case 24-12849 Doci1 Filed 12/27/24 Page 12 of 20
Docusign Envelope ID: 3A4F7771-GA4A-40A0-A882-BA212160A374

IN WITNESS WHEREOF, the undersigned, being all of the members of the Special
Committee of the Company, have each executed this Written Consent as of the date first set forth

above.

SPECIAL COMMITTEE OF BIORA
THERAPEUTICS, INC.:

NA ler

\--3032E68F 92DB4aD...
Jeff Alter
77 DocuSigned by:

Brian, botmi M.D.

TRAST

Brian Kotzin, M.D.

[Signature Page to Written Consent]
Case 24-12849 Doci1 Filed 12/27/24 Page 13 of 20
Docusign Envelope ID: 3A4F7771-6A4A-40A0-A882-BA212160A374

Official Form 201A (12/15)
[If debtor is required to file periodic reports (e.g. forms 10K and 10Q) with the Securities and Exchange Commission pursuant to

Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this
Exhibit "A" shall be completed and attached to the petition.]

United States Bankruptcy Court

District of Delaware

Inre _Biora Therapeutics, Inc. Case No.

Debtor(s) Chapter 11

Attachment to Voluntary Petition for Non-Individuals Filing for
Bankruptcy under Chapter 11

1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number
is__0001580063__.

2. The following financial data is the latest available information and refers to the debtor's condition on .

a. Total assets $ 17,980,000.00
b. Total debts (including debts listed in 2.c., below) $ 125,450,000.00
c. Debt securities held by more than 500 holders: Approximate

number of

holders:

secured unsecured O subordinated Oo $ 0.00 0
secured O unsecured O - subordinated Oo § 0.00 0
secured unsecured Os subordinated Oo $ 0.00 0
secured O  sunsecured OQ subordinated O $ 0.00 0
secured 1 sunsecured O subordinated oO $ 0.00 0
d. Number of shares of preferred stock 0 0
e. Number of shares common stock 4,522,871 0

Comments, if any:
Shares are listed as of November 6, 2024. All other information is current as. of October 31, 2024

3. Brief description of Debtor's business:
The Debtor is engaged in the research and development of specialized,
highly innovative therapies that utilize a needle-free delivery of biotherapeutics.

4. List the name of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
securities of debtor:
Jeffrey A. Ferrell

Official Form 201A Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

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UL MIGM ECM ATOLetttstte em COM (8 -1eUN Mie -Mer eich

Debtor name | Biora Therapeutics, Inc.

United States Bankruptcy Court for the:

Case number (if known):

District of Delaware

Official Form 204

Chapter 11 or Chapter 9 Cases:

List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders

["] Check if this is an
amended filing

12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured

claims.
Nature of Amount of claim
a ta . If the claim is fully unsecured, fill in only
‘ claim unsecured claim amount. If claim is partially
(ror do dette. indicate if secured, fill in total claim amount and
Name. of creditor and complete mailing address, Name, telephone number and email bank | : clatm Is deduction for value of collateral or setoff to
including zip code address of creditor contact professional cartquldated calculate unsecured claim.
services, and | gf disputed Total | Deduction
government claim, if | for value of :
contracts) partially | collateral | Unsecured claim
secured | orsetoff
Wilmer Cutler Pickering Hale and Dorr LLP | Michael J. Summersgill Professional
1. | PO Box 7247-8760 (617) 526-6261 Services NIA $12,424,693.47
Philadelphia, PA 19170-8760 michael.summersgill@wilmerhale.com
Tre Bank ofNew York Molen Trst©o. | regina Breve 228
2. PO Box 392013 (213) 630-6175 Convertible | N/A $4,766,750.00
Pittsburgh, PA 15251-9013 reginald.brewer@bny.com Notes
Lin Shen, Lingjun Lin ‘and Fusheng Lin
3 c/o Glancy Prongay & Murray LLP (310) 201-0760" Esq. Litigation NIA $1,000,000.00
* 11925 Century Park East, Suite 2100 Settlement ue
Los Angeles, CA 90067 rprongay@glancylaw.com
Gibson Dunn & Crutcher LLP Stewart McDowell :
4. | PO Box 840723 (949) 451-3800 Booressional | NIA $964,705.33
Los. Angeles, CA 90084-0723 smcdowell@gibsondunn.com
Southern District of New York
Civil Frauds Unit Jeffrey K. Powell Litigation
5. (212) 637-2706 N/A $895,863.09
86 Chambers Street ‘eff i doi Settlement
New York, NY 10007 jeffrey.powell@usdo}.gov
U.S. Attorney’s Office .
<7 wet Joseph P. Price, Jr. at nat
Southern District of California , Litigation
5. | 80 Front Street, Room 6293 COO ee edo Settlement |N/A $783,880.20
San Diego, CA $2101 joseph.price@usdoj.gov
National Association of Attorneys General | Lynne Kurtz-Citrin Litigation
7. | 1850 M Street NW, 12" Floor (512) 936-1772 Sent ement N/A $624,491.69
Washington, DC 20036 lynne. kurtz-citrin@oag.texas.gov
Intricon Corporation Scott Drikakis Trade
8. | 1260 Red Fox Road (651) 604-9579 Vendor N/A $285,705.45
Arden Hills, MN 55112 sdrikakis@intricon.com
Donnelly Financial LLC Mason Matthies :
9. | PO Box 830181 (887) 769-5444 Beoressional NIA $190,247.46
Philadelphia, PA 19182-0181 mason.matthies@dfinsoiutions.com
Official form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims page 1

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Debtor Biora Therapeutics, Inc. Case number (if known)
Name
Amount of claim
Nature of If the claim is fully unsecured, fill in only
f ay le . unsecured claim amount. If claim is- partially
(for de dotis , indicate if secured, fil! in total claim amount and
Name of creditor and complete mailing address, Name, telephone number and email bank loans, on mis deduction for value of collateral or setoff fo
including zip code address. of creditor contact professional untiq Moat, calculate unsecured claim.
services, and | or disputed Total Deduction
government claim, if | for value of .
contracts) partially | collateral Unsecured claim
secured | or setoff
Koninklijke Philips N.V.
High Tech Campus 5 Erik Pastink Professional
10. Eindhoven 5656AE iplicensing@philips.com Services NIA $150,000.00
Netherlands
KPMG LLP .
: Gerry Schmidt :
11, | PO Box 120922 (858) 750 7164 Professional | nia $139,232.00
Dept .0922 schmidt@kpmg.com Services
Dallas, TX 75312 g pmg.
Gilero LLC Tom Cassou Trade
12. | 4319 S. Alston Avenue, Suite 100 (919) 595-8220 Vendor N/A $127,942.50
Durham, NC 27713 ar@gilero.com
Care Research Melanie Apple Trade
43. 16200 E. County Road 56 (970) 493-0118 Vendor N/A $122,384.50
Fort Collins, CO 80524 accounting@careresearchlilc.com
Pharmaron (San Diego) Lab Services LLC | Dave Neul Trade
14. | 436 Creamery Way, Suite 600 (858) 337-3858 Vendor N/A $121,030.00
Exton, PA 19341 david-neul@pharmaron.com
Murgitroyd & Company LTD Karen Winslade Professional
15. | 4721 Emperor Blvd., Suite 430 (919) 474-8300 Services N/A $113,862.50
Durham, NC 27703 karen.winslade@murgitroyd.com
conn nae Laboratories Inc. Elham Amini Trade
16. Dept. 2661 (858) 228-7780 Vendor N/A $110,298.75
Birmingham, AL 35246-2661 elham.amini@bpt.eurofinsus.com
Engent Inc. Sam Hogg Trade
17. | PO Box 538349 (470) 902-9071 Vendor N/A $101,143.64
Atlanta, GA 30353-8349 sam.hogg@engentaat.com
LifeSci Advisors LLC Ryan Romaine Professional
18. | 250 West 55th Street, 34th Floor (212) 915-3817 Services N/A $84,754.00
New York, NY 10019 rromaine@lifescicapital.com
Perkins Coie LLP Linc S. Finkenberg .
19. | PO Box 24643 (206) 359-8000 eae N/A $82,802.94
Seattle, WA 98124-0643 clientacct@perkinscoie.com
Procopio Cory Hargreaves & Savitch LLP | Stephen Beuerle Professional
20. | PO Box 511480 (619) 525-3816 Services N/A $78,329.32
Los Angeles, CA 90051-8035 stephen.beuerle@procopio.com
CG Life tnt
ag Shahmir Jiwani
at. clo The Chempetitive Group, LLC (312) 997-2436 Trade NIA $74,575.00
657 W. Lake Street aap@colife.com Vendor
Chicago, IL 60661 gaapeegie.
Veryst Engineering LLC Matthew Hancock :
22, | 47A Kearney Road (718) 433-0433 Beeesonal | NIA $63,767.50
Needham, MA 02494 mhancock@veryst.com
Quadax Inc. Christina Mulhall Trade
23. | 25201 Chagrin Bivd., Suite 290 (216) 765-1144 Vendor N/A $63,000.00
Beachwood, OH 44122 christinamulhall@quadax.com
Official form. 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured claims page 2

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Debtor Biora Therapeutics, Inc.

Name

Case number (if known)

Amount of claim

Nature of Ifthe claim is fully unsecured, fill in only
f vam i . unsecured claim amount. If claim is partially
{for de dott, Indicate if secured, fill in total claim amount and
Name of creditor and complete mailing address, Name, telephone number and email bankloans, | ¢ cm ont, | section for value of collateral or setoff to
including zip code address of creditor contact professional | nliquidate d calculate unsecured claim.
services, and | or disputed’ Total Deduction
government claim, if | for value of
contracts) partially | collateral Unsecured claim
secured | or setoff
UTC Properties LLC Teriann Nguyen Reai
24. | PO Box 846963 (949) 720-2684 Property NIA $59,997.23
Los Angeles, CA 90084-6963 officebilling6@irvinecompany.com Lease
Deloitte & Touche LLP Hiral Shah .
25. | PO Box 844708 (619) 232-6500 foal N/A $58,009.00
Dallas, TX 75284-4708 hiralshah@deloitte.com
Oracle America Inc. .
: . Lea Miller
Bank of America Lockbox Services Trade
26. 15612 Collections Center Drive ee oN com Vendor NIA $53,851.32
Chicago, IL. 60693 . ,
R & D Systems Inc. Claudia Harris Trade
27. |614 McKinley Place NE (612) 379-2956 Vendor N/A $53,632.65
Minneapolis, MN 55413 claudia .harris@bio-techne.com
Etogen Precision
: Alex Okun
ag, | 10 MCU Designs, Inc. (858) 450-0990 ext. 111 Trade NA $49,476.68
7558 Trade Street ar@etogen.com Vendor
San Diego, CA 92121 gen.
Salesforce, Inc. Matthew Brand Trade
29. | PO Box 203141 (415) 984-8567 Vendor NIA $45,000.00
Dallas TX 75320-3141 mbrand@clarkhill.com
Mewburn Ellis LLP :
: : Elaine Chung .
30. | CY jon ee Basinghall Street +44 (117) 945-1234 Blofessional N/A $40,697.51
United Kingdom elaine.chung@mewburn.com

Official form 204 Chapter 11 or Chapter 9 Cases: List. of Creditors Who Have the 30 Largest Unsecured claims page 3

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
Biora Therapeutics, Inc..,! Case No. 24- [ | ¢ )

Debtor.

Corporate Ownership Statement

Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the Debtor hereby files this corporate ownership statement and represents that no parent

corporation or any publicly held corporation owns 10% or more of the Debtor’s stock.

1 The last four digits of Biora Therapeutics, Inc.’s federal tax identification number are 0390. Biora
Therapeutics, Inc.’s service address is 10070 Carroll Canyon Road, Suite 100, San Diego, CA 92131.
Case 24-12849 Doci1 Filed 12/27/24 Page 18 of 20
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
Biora Therapeutics, Inc.,' Case No. 24- | l(_)

Debtor.

LIST OF EQUITY SECURITY HOLDERS?

Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the above-
captioned debtor and debtor in possession (the “Debtor”) respectfully represents that the following

is the list of holders of the Debtor’s sole class of equity or membership interests:

CO There are no equity security holders or corporations that directly or indirectly own 10%
or more of any class of the Debtor’s equity interest.

The following are the Debtor’s equity security holders (list holders of each class,

showing the number and kind of interests registered in the name of each holder, and the last known

address or place of business of each holder).

_Held

Armistice Capital LLC Common
510 Madison Avenue, 7th Floor Stock 372,671 8%
New York, NY 10022
Athyrium Opportunities III Acquisition 2 LP
c/o Athyrium Capital Management, LP505 Common 302,383 6.69%

Fifth Avenue, 18th Floor Stock
New York, New York 10017

‘The last four digits of Biora Therapeutics, Inc.’s federal tax identification number are 0390. Biora
Therapeutics, Inc.’s service address is 10070 Carroll Canyon Road, Suite 100, San Diego, CA 92131.

2 This list serves as the disclosure required to be made by the above-captioned debtor pursuant to Rule 1007 of
the Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity
as of the date of commencement of the chapter 11 case.
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Docusign Envelope ID: 3A4F7771-6A4A-40A0-A882-BA212160A374

Athyrium Opportunities II] Co Invest 1 LP
c/o Athyrium Capital Management, LP505 Common °
Fifth Avenue, 18th Floor Stock 758,951 16.78%
New York, New York 10017
Sabby Volatility Warrant Master Fund, Common
Ltd 7012 Fisher Island Dr. Stock 372,671 8%
Miami Beach 33109

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Docusign Envelope ID: 3A4F7771-6A4A-40A0-A882-BA212160A374

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Debtorname Biora Therapeutics, Inc.

United States Bankruptcy Court for the: District of Delaware

Case number (if known)

[-] Check if this is.an
amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors ——z2a15

An individual who is authorized to act on behalf of a non-individual debtor, such asa corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a. serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

a Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this. case.

| have examined the information in the documents checked below and.| havea reasonable belief that the information is.true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

Other document that requires a. declaration © Corporate Ownership Statement, List of Equity Security Holders, Form
201(A)

SRO

| declare under penalty of perjury that the foregoing is true and correct. Pocusigned by:

12/27/2024 x vida Muller

Executed on

Signature of individual signing on behalf of debtor

Richard Miller

Printed name

Chief Transition Officer

Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
